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 Matthew T. Christensen, ISB: 7213
 Chad R. Moody, ISB: 9946
 ANGSTMAN JOHNSON
 199 N. Capitol Blvd., Ste. 200
 Boise, ID 83702
 Phone: (208) 384-8588
 Fax: (208) 629-2157
 Email: mtc@angstman.com
         chad@angstman.com

 Attorneys for Debtor in Possession

                               UNITED STATES BANKRUPTCY COURT

                                          DISTRICT OF IDAHO

     In re:                                              Case No. 20-40734-JMM

     DEWIT DAIRY,                                        Chapter 11

                    Debtor.



                              FINAL APPLICATION FOR ALLOWANCE
                                OF FEES AND COSTS FOR COUNSEL

              Matthew T. Christensen of the firm Angstman Johnson applies to the Court for allowance

 of attorney’s fees and costs pursuant to 11 U.S.C. § 331 and confirmation of all fees and costs

 pursuant to 11 U.S.C. §330.1 Applicant respectfully states and represents to the Court that:

              1.     Applicant is the attorney of record for DeWit Dairy, the above-named Debtor-in-

 Possession (“Debtor”) and makes this application for allowance of compensation for professional

 services rendered, and for reimbursement for actual necessary costs and expenses incurred since

 the commencement of this case.



 1
   This Application is captioned as a “Final” Fee Application. While it is anticipated that there may be
 additional fees and expenses incurred, it is expected that those will be de minimus. However, counsel
 reserves the right to request additional fees and expenses if the final wrap-up of this case proves to require
 significant additional time.

 FINAL APPLICATION FOR ALLOWANCE OF FEES AND COSTS FOR COUNSEL –
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           2.   All services for which compensation is requested by your applicant were performed

 for and on behalf of said Debtor, and not on behalf of any committee, creditor, or other person.

 Each attorney involved in the services for which compensation is requested are specifically

 identified on the attached Exhibit A and incorporated herein by reference.

           3.   Payment of the attorney’s fees and costs and the payments of these fees and costs

 should be made pursuant to the Contract of Employment attached to the Application to Employ

 Counsel as Exhibit A (Dkt. No. 4).

           4.   Applicant, or other members of Angstman Johnson, have rendered services to the

 Debtor in the manner described on the attached Exhibit B, which is by reference made a part

 hereof.

           5.   Because of said services rendered by the applicant or the firm, the estate was able

 to prepare and file required reports, seek approval for the payment of counsel’s fees and costs,

 seek approval to employee and compensate other estate professionals, attend required meetings

 and hearings, seek and obtain approval to liquidate the Debtor’s assets, and prepare and obtain

 approval of a Chapter 11 Disclosure Statement and Plan, and otherwise progress this case to

 conclusion.

           6.   Further, the applicant sustained, and incurred expenses and/or costs of Court

 described and itemized in the statement attached hereto as Exhibit B, in connection with

 applicant’s function and activities as attorney for the Debtors. A narrative summary of

 professionals’ fees and expenses is attached hereto as Exhibit C.

           7.   The fees requested by this Application shall not be shared with any other party

 outside the applicant’s law firm.




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        8.        The Applicant currently holds approximately $0.00 in a client trust account (all

 trust account funds were applied to previous compensation which was awarded). The fees and

 costs allowed will be paid by the Debtor as part of its confirmed Chapter 11 Plan. The Debtor

 currently holds in excess of $4,200,000.00 with which to pay the fees and expenses requested.

        9.        The rate of compensation of the attorneys was detailed in the Contract of

 Employment attached to the Application to Employ Counsel as Exhibit A, which application was

 approved by Court order on October 20, 2020 (Dkt. No. 58). In conformity with that rate, the

 reasonable value of the services rendered by your applicant as attorney for the Debtor in this case,

 including costs/expenses and disbursements incurred, since the last application (if any) was filed

 is $41,092.85.

        10.       Previously, one application for Fees and Costs was filed on February 12, 2021 (Dkt.

 No. 123) and approved by the Court on March 18, 2021 (Dkt. No. 144) in the amount of

 $47,330.46. Applicant has received a total of $27,768.00 of that amount (the balance being held

 in counsel’s trust account), leaving an unpaid balance of $19,562.46.

        11.       In connection with the approval of the First Application for Allowance of Interim

 Fees and Costs, the Court awarded a reduced attorney fee rate to reflect pre-2021 rate for all

 attorneys and staff. Additionally, the court allowed the total of $47,330.46 to be approved but

 reduced the amount to be actually paid to the Debtor to the amount then held in counsel’s client

 trust account, leaving an unpaid balance of $19,562.46. This final fee request reduces the 2021

 rates for attorneys and paralegals to the pre-2021 rates used for the balance of this case. Assuming

 all amounts are awarded, the total unpaid amount of compensation would be $60,655.31 to be paid

 through the Debtor’s confirmed bankruptcy Plan.




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        12.     At the time the Debtor’s bankruptcy was filed, the applicant retained the sum of

 $27,768.00. All of that amount has been applied to prior allowed compensation requests.

        13.     The Debtor has reviewed this application and approved the application and amounts

 requested.

        WHEREFORE, the applicant prays that an allowance be made in the sum of $40,602.00

 for time and services rendered on the Debtor’s behalf, and $490.85 as and for reimbursement for

 expenses incurred by the applicant for the total of $41,092.85 as part of the costs and expenses of

 the representation of the Debtor in the above-named bankruptcy case. Further, the applicant

 requests the Court confirm all compensation requests pursuant to 11 U.S.C. §330 and allow the

 Debtor to pay the awarded compensation as part of its confirmed Chapter 11 Plan.

        DATED this 8th day of October, 2021.

                                              /s/ Matt Christensen
                                              MATTHEW T. CHRISTENSEN
                                              Attorney for Debtor




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                                     CERTIFICATE OF SERVICE

                I HEREBY CERTIFY that on this 8th day of October, 2021, I filed the foregoing
 document electronically through the CM/ECF system, which caused the following parties to be
 served by electronic means, as more fully reflected on the Notice of Electronic Filing:

        Branden T. Berrett                  bberrett@wrightbrotherslaw.com
        Matthew T. Christensen              mtc@angstman.com
        Amber N. Dina                       amberdina@givenspursley.com
        David W. Gadd                       dwg@magicvalleylaw.com
        David A. Heida                      dheida@whitepeterson.com
        Andrew S. Jorgensen                 andrew.jorensen@usdoj.gov
        Kelly G. McConnell                  litigation@givenspursley.com
        James C. Meservy                    jsmeservy@wmlattys.com
        Chad R. Moody                       chad@angstman.com
        Sheila R. Schwager                  sschwager@hawleytroxell.com
        Aaron J. Tolson                     ajt@aaronjtolsonlaw.com
        US Trustee                          ustp.region18.bs.ecf@usdoj.gov


        Any others as listed on the Court’s ECF Notice.


                                                     /s/ Matt Christensen
                                                Matthew T. Christensen




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                        EXHIBIT A
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                                       SUMMARY SHEET

 Fees Previously Requested:                         NAME OF APPLICANT:
        $ 48,036.50                                 Matthew T. Christensen

 Fees Previously Awarded:                           ROLE IN CASE: Attorney for Debtor
        $ 45,289.00
                                                    CURRENT APPLICATION:
 Expenses Previously Requested:
       $ 2,041.46                                   Fees Requested:             $ 40,602.00
                                                    Expenses Requested:         $ 490.85
 Expenses Previously Awarded:                       Total Requested:            $ 41,092.85
       $ 2,041.46
                                                    Amount to be included in Ch. 11 Plan
 Payments Received for Awarded                      (current plus previously unpaid):
 Fees/Expenses:                                            $ 60,655.31
        $ 27,768.00


                                            Hours Billed
          Name of                  Years in        Current          Hourly        Total for
        Professional               Practice      Application        Rate*       Application
  Matthew T. Christensen                                           $375.00      $21,825.00
                                      16           58.20
                                                                  ($350.00)    ($20,370.00)
  Matthew T. Christensen                                           $187.50        $712.50
                                      16            3.80
                                                                  ($175.00)      ($665.00)
  Louis V. Spiker                     12            7.00           $300.00       $2,100.00
  Chad R. Moody                                                    $250.00      $15,450.00
                                      6            61.80
                                                                  ($215.00)    ($13,287.00)
  Melanie Anderson                                                 $150.00       $4,350.00
                                  Paralegal        29.00
                                                                  ($130.00)     ($3,770.00)
  Megan Richmond                  Paralegal         0.40            $95.00         $38.00
  Abigail Stephens                                                  $95.00        $589.00
                                  Paralegal         6.20
                                                                   ($60.00)      ($372.00)


                                                Total Fees:    $ 40,602.00
                                                Total Costs:   $    490.85
                                                TOTAL:         $ 41,092.85


 *: Exhibit B tracks time at then-current
 rates. This application requests
 compensation at pre-2021 rates for all
 attorneys and employees.
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                        EXHIBIT B
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                                                             EXHIBIT B

                                                MATTER ID/                                                                            EXACT
    DATE       PROF                                                                                               UNITS   RATE
                                          DESCRIPTION NARRATIVE                                                                      AMOUNT
CASE ADMINISTRATION
    2/1/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $250.00      $50.00
                      Receipt and respond to email from KeyBank's attorney regarding weekly report.

    2/2/2021   MTC    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                1.60   $375.00      $600.00
                      Prepare and send proposed budget for use of cash (.3): emails re: same (.5); tcw
                      Amber Dina re: various issues (.4); call with client re: employee budget (.4).

    2/3/2021   MTC    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $375.00      $75.00
                      Email to counsel re: updated budget.

   2/17/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $250.00      $50.00
                      Case meeting with MTC and assistants.

   2/17/2021   MTC    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $375.00      $75.00
                      Case meeting with CRM and assistants.
   2/18/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.80   $250.00      $200.00
                      Telephone call to Aaron Tolson regarding garnishment issue, including related
                      research and follow up email to client regarding the same (.6); conference with Matt
                      Christensen regarding call with Aaron Tolson (.2).

   2/18/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.70   $250.00      $175.00
                      Work on discovery response issues, including responding to client email regarding the
                      same (.4); review and follow up on monthly operating report documents, including
                      related communications (.3).

   2/22/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.80   $250.00      $200.00
                      Work on discovery response issues and finalizing MOR.

   2/25/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.10   $250.00      $25.00
                      Receipt and review email from MetLife's counsel regarding insurance questions and
                      draft follow up email to client.

    3/2/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.30   $250.00      $75.00
                      Follow up on weekly reports, finalize, and transmit to creditors and UST.

    3/3/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $250.00      $50.00
                      Receipt and respond to email from opposing counsel's office regarding weekly report
                      and follow up with staff on 2/12 weekly report.

    3/5/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.40   $250.00      $100.00
                      Receipt and reivew documents from client and follow up with staff on preparing
                      weekly reports (.2); draft email to client regarding weekly report documents (.1); and
                      draft email to creditors regarding past report (.1).

    3/8/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $250.00      $50.00
                      Receipt, review, and transmit weekly report to creditors.

    3/9/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $250.00      $50.00
                      Follow up on MetLife attorney's email regarding workers comp including follow up
                      email to client.

    3/9/2021   MTC    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $375.00      $75.00
                      Finalize and submit Stip re: cleanup budget.

   3/15/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.20   $250.00      $50.00
                      Receive client documents and prepare weekly report.

   3/17/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                0.30   $250.00      $75.00
                      Follow up on worker's comp issues, including related communications with Matt
                      Christensen and client.

   3/22/2021   CRM    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                1.20   $250.00      $300.00
                      Analyze client operating report for filing, including related communications with
                      client (.5); compile and finalize weekly report to creditors (.2); receipt and respond to
                      email from opposing counsel regarding weekly report, including related research and
                      communications to Matt Christensen (.5);
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 3/23/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.50   $375.00      $187.50
                   Tcw Amber Dina re: prepayment and disclosure statement issues.

 3/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $250.00      $50.00
                   Review and finalize weekly report.

  4/5/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $250.00      $25.00
                   Follow up with Matt Christensen regarding reporting.

  4/8/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.30   $375.00      $487.50
                   Work on updated budget (.3); tcw clients (.5); update budget again and send to other
                   counsel (.5).

 4/12/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $250.00      $25.00
                   Review weekly reports and follow up with Matt Christensen.

 4/13/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30   $250.00      $75.00
                   Finalize and transmit weekly reports (.1); receipt, research, and respond to email from
                   opposing counsel with questions about weekly reports (.2).

 4/14/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30   $250.00      $75.00
                   Receipt of email from Tracy DeWit regarding bank deposit and draft follow up email
                   to Tony DeWit, including related responses and email to opposing counsel.

 4/14/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.00   $375.00      $375.00
                   Various phone calls re: deliverables for sale.
 4/19/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30   $250.00      $75.00
                   Review and send client weekly report; receipt and follow up on responsive emails
                   from counsel.

 4/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.60   $250.00      $400.00
                   Evaluate monthly report from client for filing, investigate equipment sale issues,
                   including related follow up with Matt Christensen and Melanie Anderson; draft and
                   respond to multiple communications with client regarding the same; finalize report for
                   filing.

 4/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $250.00      $25.00
                   Case strategy meeting with Matt Christensen and staff, including evaluating next
                   steps.

 4/21/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $375.00      $37.50
                   Case strategy meeting with Chad Moody and staff, including evaluating next steps.


 4/21/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $150.00      $15.00
                   Case review meeting

 4/22/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.00   $375.00      $375.00
                   TCW client to discuss next steps and impact of Dairy plan.

 4/23/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $250.00      $50.00
                   Follow up on weekly report issues from client.

 4/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.40   $250.00      $100.00
                   Receipt and analyze weekly report including related investigation and follow up with
                   client regarding equipment issues.

 4/30/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $250.00      $25.00
                   Follow up with client on report of sale and disclosure statement draft.

  5/3/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.40   $250.00      $100.00
                   Receive, review, and send weekly report (.1); receipt, investigate, and respond to email
                   from opposing counsel regarding debtor's bank statement records (.3).

 5/13/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.70   $375.00      $262.50
                   Telephone call with client to discuss next steps.

 5/18/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $250.00      $50.00
                   Revise draft April report from debtor and follow up with staff in preparation for filing.


 5/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.50   $250.00      $125.00
                   Review and finalize monthly operating report.

 5/26/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.50   $375.00      $187.50
                   Research issues related to UCC discovery requests.
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  6/1/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30   $250.00      $75.00
                   Review new report from client and follow up with staff on compiling for filing and
                   regarding status of accountant's fee application.

  6/3/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.80   $375.00      $300.00
                   Tcw Alex Caval re: UCC discovery.

  6/3/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.50   $375.00      $187.50
                   Review bank statements and emails with client re; additional payments.

  6/8/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.20   $375.00      $450.00
                   Telephone call with client and others re: various issues and next steps.

  6/9/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $250.00      $25.00
                   Receipt and reivew email from client regarding utility transfers.

 6/28/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.50   $375.00      $187.50
                   Emails and phone calls re: UCC document requests.

  7/2/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $375.00      $75.00
                   Telephone call with Amber Dina re: status of payment inquiries.

 7/13/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.60   $375.00      $225.00
                   Prepare and send discovery docs to client and Amber Dina.

 7/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.50   $250.00      $375.00
                   Review and revise draft June MOR on new UST form and related follow up with
                   client (1.0); send email to client regarding notices of sale (.1); receipt and respond to
                   email from client regarding new form and proposed revisions(.4).

 7/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30   $250.00      $75.00
                   Receipt of follow up on email comments regarding new report form.

 7/22/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $250.00      $25.00
                   Receipt and respond to client email regarding upcoming meetings about reports and
                   case status

 7/22/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.80   $375.00      $300.00
                   Telephone call with client re: UCC inquiries and Y&Y claims (.5); discuss Y&Y
                   claims with LVS (.3).

 7/23/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $250.00      $50.00
                   Case meeting with MTC re: updates on various issues.

 7/23/2021   MR    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $95.00       $19.00
                   Draft Statement of No Objection

 7/27/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.50   $250.00      $375.00
                   Conference call with Tony DeWit and Tracy Wilhelm regarding MOR, amendments to
                   schedules, and equipment sale notices, including related follow up conference with
                   Matt Christensen regarding expenses.

 7/28/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.50   $250.00      $375.00
                   Analyze and revise notice of non-opposition pleading for filing, revised proposed
                   order, and draft related communications to UST and Amber Dina.

 7/28/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10   $250.00      $25.00
                   Review revised MOR for filing.

  8/2/2021   MR    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $95.00       $19.00
                   Draft Order Approving Application for Fees (Epic Acct)

  8/3/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $250.00      $50.00
                   Receipt and review equipment list from client and follow up with staff regarding
                   preparing sale notes and possible amendments to schedules.

 8/10/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $250.00      $50.00
                   Work on schedule amendment issues.

 8/16/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30   $250.00      $75.00
                   Receipt of email from client regarding property disposition questions and follow up
                   with staff on amended schedules.

 8/18/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20   $250.00      $50.00
                   Communications with client regarding UST fees and related payment.

 8/20/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.60   $250.00      $150.00
                   Review monthly report and follow up with client regarding the same.
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    8/23/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                      Receipt and return call from David Gadd, including reviewing proof of claims filed by
                      Mr. Gadd's office on behalf of creditors.

    8/23/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                      Review revised monthly operating report.

    8/23/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                      Telephone call David Gadd regarding liquidation analysis.

    8/25/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10    $250.00      $25.00
                      Draft follow up email to client regarding operating report.

    8/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                      Communications with client regarding operating report documents and amendment,
                      including related document review and follow up with staff to finalize and file the
                      report.

    8/27/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30    $250.00      $75.00
                      Draft email to client regarding operating report; receipt and respond to cleint follow up
                      emails.

    9/20/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.70    $250.00      $175.00
                      Review client's draft August operating report.

    9/20/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.40    $250.00      $100.00
                      Telephone call with Tracy Wilhelm regarding operating report revisions and plan
                      objections filed.

                                                                                                        Total:    32.40               $9,515.50
ASSET DISPOSITION
    2/1/2021    MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.80    $150.00      $120.00
                      Revised and Finalized Report of Sale

    2/1/2021    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.40    $250.00      $100.00
                      Analyze and revise draft report of sale, including related communications.

    2/5/2021    CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                      Follow up on message from interested buyer and drafting email to employed realtor.


    2/16/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                      Receipt of equipment sale paperwork and draft follow up email to client regarding the
                      same.

    2/19/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.10    $375.00      $412.50
                      Telephone call with client, Clay N and Evan Roth.

    2/25/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.50    $375.00      $562.50
                      Telephone call with client and Evan Roth.

    2/27/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.20    $375.00      $450.00
                      Tcw client and Clay Nannini re: upcoming sale (.8); emails with Evan Roth and Pete
                      Jones re: upcoming sale (.3).

    3/3/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.00    $375.00      $375.00
                      Call with client and Evan Roth re: questions on sale and permits

    3/5/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.50    $375.00      $187.50
                      Various emails re: milk company results.

    3/8/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.80    $375.00      $300.00
                      Various phone calls re: sale of assets.

    3/9/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               3.80    $187.50      $712.50
                      Travel to/from Wendell for sale.

    3/9/2021    MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.50    $375.00      $562.50
                      Attend sale (includes time to meet with client before/after).

    3/10/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               2.70    $375.00     $1,012.50
                      Multiple phone calls with client and Buyer's attorney re: sale (.7); prepare for and
                      attend hearing on sale and fee apps (2.0)

    3/11/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               2.00    $375.00      $750.00
                      Various emails and phone calls re: new contract with Oak Valley.
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 3/12/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          1.50   $375.00      $562.50
                   Continued emails and calls re: new contract with Oak Valley

 3/12/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.10   $250.00      $25.00
                   Telephone call with client regarding status of new PSA.

 3/15/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.40   $375.00      $150.00
                   Various emails re: sale order approval.

 3/16/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.30   $375.00      $112.50
                   Review proposed changes to sale order from MetLife counsel; email others for
                   approval.

 3/17/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          1.20   $375.00      $450.00
                   Finalize and submit sale order and compensation orders (.8); prepare and file
                   Supplement to Sale Motion (.4).

 3/19/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.70   $375.00      $262.50
                   Telephone call with Buyer's attorney (.3); telephone call with client (.4).

 4/14/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          1.50   $375.00      $562.50
                   Prepare and send related closing documents for sale.

 4/15/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          2.50   $375.00      $937.50
                   Multiple emails and calls re: closing of sale.

 4/16/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.70   $375.00      $262.50
                   Multiple emails re: sale closing

 4/20/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.50   $375.00      $187.50
                   Review and respond to emails re: closing.

 4/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.20   $250.00      $50.00
                   Analyze client documents for equipment sales report.

 4/23/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.80   $150.00      $120.00
                   Prepared Report of Sale 3.18.21

 4/23/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.20   $250.00      $50.00
                   Evaluate and finalize report of equipment sate.

 4/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.20   $250.00      $50.00
                   Receipt and respond to emails with client regarding equipment sales.

 4/27/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.40   $250.00      $100.00
                   Receipt and follow up on email from Tracy Wilhelm regarding dairy sale closing (.1);
                   follow up with client regarding additional equipment sales (.2).

 4/27/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          1.10   $150.00      $165.00
                   Revised Report of Sale, researched business name and address and equipment sold


 4/30/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.20   $250.00      $50.00
                   Revise report of sale of real property.

 4/30/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          1.50   $150.00      $225.00
                   Reviewed documents; prepared Report of Sale Property; sent correspondence to client


 4/30/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.20   $150.00      $30.00
                   Finalized Reports of Sale for filing

 6/15/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.80   $250.00      $200.00
                   Evaluate auction list of equipment and compare to Court order re: equipment sales.


 6/22/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.50   $150.00      $75.00
                   Reviewed email correspondence and drafted report of sale for consigned items

 6/22/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.20   $250.00      $50.00
                   Review and revise draft notice of equipment sale.

 6/29/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          0.40   $150.00      $60.00
                   Updated Notice of Sale

 6/30/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                          2.50   $150.00      $375.00
                   Reviewed email correspondence from auctioneer; analyzed inventory in email with
                   schedules and appraisal; communication with client and CRM and MTC
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  7/6/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.60   $250.00      $150.00
                   Analyze and revise notice of equipment sale.

  7/8/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.20   $250.00      $50.00
                   Draft email to client regarding report of equipment sale and auctioneer employment
                   and commissions.

  7/8/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.30   $250.00      $75.00
                   Receipt and respond to email from auctioneer regarding title question about equipment
                   auction (.2); Receipt and respond to email from client regarding additional equipment
                   auction (.1).

 7/13/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.20   $250.00      $50.00
                   Receipt and respond to email from auctioneer.

 7/20/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.40   $250.00      $100.00
                   Email communications with client regarding equipment sales and next auction related
                   issues and notices.

 7/21/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           1.00   $250.00      $250.00
                   Telephone call with Auctioneer regarding status of equipment listings and
                   employment issues (.3); draft follow up emails to client regarding equipment asset
                   sales and related notice requirements and conference call (.4); draft email to
                   Auctioneer regarding substance of phone call concerning next auction and
                   employment issues (.3).

 7/28/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.60   $150.00      $90.00
                   Discussion with CRM regarding Notice of Sale; updated Notice of Sale

  8/4/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.60   $150.00      $90.00
                   Reviewed email correspondence from client; compared list of items to be sold with the
                   items in the petition; sent email communication to client for clarification

 8/19/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.30   $250.00      $75.00
                   Telephone call with Evelyn Floyd, Magic Valley Auction, regarding upcoming notice
                   of trustee's sale.

 8/20/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.30   $150.00      $45.00
                   Reviewed email correspondence from client; analyzed inventory to be sold at auction;
                   emailed CRM regarding amended schedules

 8/23/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.20   $250.00      $50.00
                   Conference with Melanie Anderson regarding completing trustee's notice of sale.

 8/23/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           2.10   $150.00      $315.00
                   Meeting with CRM regarding items up for auction; analyzed items; revised notice of
                   sale; prepared motion to shorten time and proposed order; sent correspondence to
                   CRM with draft documents

 8/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           3.70   $250.00      $925.00
                   Revise Notice of Sale pleadings, including drafting related motion and correspondence
                   with auctioneer, and conference with Matt Christensen regarding the same.


 8/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.20   $250.00      $50.00
                   Draft email to auctioneer regarding needed exhibit and status of fee application.

 8/26/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.30   $375.00      $112.50
                   Discuss auction sale with CRM; review sale docs.

 8/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.40   $250.00      $100.00
                   Finalize sale pleadings for filing.

 8/26/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           2.00   $150.00      $300.00
                   Meeting with CRM regarding Notice of Sale; revised Order Shortening Time;
                   finalized Notice of Sale

  9/7/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.10   $250.00      $25.00
                   Follow up on title question regarding upcoming auction.

  9/8/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.20   $250.00      $50.00
                   Receipt and respond to email from auctioneer regarding objections.

 9/13/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                           0.20   $250.00      $50.00
                   Receipt and respond to email from auctioneer regarding potential objections to up
                   coming sale and follow up with client on titles.
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   9/15/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.70    $150.00      $105.00
                     Assisted in preparing amended schedules

   9/16/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10    $250.00      $25.00
                     Follow up with auctioneer regarding sale outcome.

                                                                                                        Total:   51.00               $13,840.00
FEE/EMPLOYMENT APPLICATIONS
    2/2/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10    $250.00      $25.00
                     Review and finalize notice certificate related to employment application.

    2/8/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10    $250.00      $25.00
                     Follow up on preparation of fee application for Mark Brady.

   2/11/2021   AS    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.70    $95.00       $66.50
                     Add January time to first fee app and send for review.

   2/12/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.10    $375.00      $412.50
                     Review and finalize Fee App (.2); send to client to review (.1); prepare Notice of Fee
                     App (.2); tcw client re: same (.3); finalize and file App and Notice (.3).

    3/9/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                     Follow upon Mark Brady employment and obtaining order for employment.

    3/9/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30    $250.00      $75.00
                     Research docket and prepare a proposed order approving accountant application (.2);
                     follow up on order execution (.1).

   3/10/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                     Review court order regarding employment and draft email to accountant and client.


   3/16/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                     Receipt and respond to email from Mark Brady regarding fee application.

   3/17/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                     Receipt and follow up on emails from Mark Brady regarding fee application issues.


   3/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                     Receipt and review UST's objection to fee application.

   3/29/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.70    $375.00      $262.50
                     Attend hearing on Amber Dina's fee application.

   3/29/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.30    $250.00      $75.00
                     Telephone call and email to and with Mark Brady concerning tax project and fee
                     application.

   3/30/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               1.20    $150.00      $180.00
                     Drafted Fee Application for Mark Brady

   3/31/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.50    $150.00      $75.00
                     Prepared draft Order Approving Epic Accounting's Application for Fees

    5/3/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                     Receipt and respond to email from Mark Brady a regarding fee application, including
                     related follow up with staff on revising and updating application.

    5/5/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.60    $250.00      $150.00
                     Review and revise fee application for Mark Brady, including related follow up with
                     staff on approvals from accountant and client.

   5/13/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.10    $250.00      $25.00
                     Receipt and respond to email from Mark Brady regarding fee application.

   5/25/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                     Receipt of email from Mark Brady regarding fee application and follow up on client
                     review.

   5/25/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.40    $250.00      $100.00
                     Receipt, investigate, and respond to email to client regarding draft fee application for
                     Mark Brady.

   5/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                               0.20    $250.00      $50.00
                     Receipt and follow up on emails from client regarding accountant's fee application
                     questions, including responding to client.
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  6/8/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.10   $250.00      $25.00
                   Receipt of executed application for compensation from Mark Brady and finalize for
                   filing.

 6/14/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              1.00   $150.00      $150.00
                   Prepared Application to Employ Auctioneer and Verified Statement; sent email
                   correspondence to client requesting additional information

 6/14/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20   $250.00      $50.00
                   Receipt and evaluate employment issues for auctioneer and follow up with staff to
                   prepare necessary documents.

 6/15/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.50   $250.00      $125.00
                   Revise and finalize draft employment application, including related communications
                   with auctioneer and client.

 6/15/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.40   $150.00      $60.00
                   Reviewed email communication from client; analyzed Consignment Agreement;
                   revised employment application and verified statement for Auctioneer

 6/15/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.10   $250.00      $25.00
                   Draft email to client regarding application to employ auctioneer.

 6/15/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              1.40   $250.00      $350.00
                   Work on employment of auctioneer issues and approaching auction schedule,
                   including telephone calls with both Client and Auctioneer (.9); draft lengthy and
                   detailed email to Auctioneer regarding employment and sale of equipment (.5).

 6/28/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.40   $250.00      $100.00
                   Receipt and review client email and proposed agreement for tax credit specialist
                   employment (.1); conference with Matt Christensen on Debtor' tax liability and
                   possible employment of specialist to reduce tax liability (.2); draft response email to
                   client regarding employment of tax specialist (.1).

 6/30/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              1.50   $150.00      $225.00
                   Prepared draft Application to employ Smith Miller and Verified Statement in Support


  7/1/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20   $250.00      $50.00
                   Follow up on court clerk requested action for hearing on fee application for M. Brady.


  7/2/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20   $250.00      $50.00
                   Review and revise Notice of Hearing for fee application.

  7/9/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20   $250.00      $50.00
                   Receipt and response to UST email regarding application to employ auctioneer.

  7/9/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.30   $250.00      $75.00
                   Work on application for new tax accountant employment issues, including related
                   communication to the proposed professional.

 7/15/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              2.10   $250.00      $525.00
                   Revise draft fee application for auctioneer, including related research and follow up on
                   report of sale, and documents for additional equipment auctions, including related
                   communications with auctioneer and staff (2.0); receipt and respond to email from
                   client regarding report of sale (.1).

 7/15/2021   AS    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              1.70   $95.00       $161.50
                   Draft and prepare Fee App for Auctioneer.

 7/16/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.10   $250.00      $25.00
                   Receipt and respond to email from Evelyn Floyd regarding amending fee application.


 7/16/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.10   $250.00      $25.00
                   Draft follow up email to Andrew Jorgensen regarding application to employ
                   auctioneer.

 7/16/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20   $250.00      $50.00
                   Telephone call to Andrew Jorgensen regarding service of application to employ
                   Auctioneer on creditor's committee, including follow up call to Amber Dina, counsel
                   for creditor's committee to discuss notice.
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    7/16/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.90    $250.00      $225.00
                         Conference call with Strategic Tax Solutions about employment, including related
                         contract review (.7); receipt and respond to email from Auctioneer regarding fee
                         application, including related mail to client regarding his review and approval (.2).

    7/20/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.30    $250.00      $75.00
                         Email and telephone communications with Amber Dina regarding Application to
                         Employ and retaining approval from committee members.

    7/21/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.30    $250.00      $75.00
                         Receipt and review revised report and various comments from client.

    7/21/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20    $250.00      $50.00
                         Follow up with tax specialist on engagement letter.

    7/23/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.30    $250.00      $75.00
                         Receipt and respond to email from Amber Dina regarding unsecured creditor
                         committee notice, including following up with UST's office regarding the same.

    7/29/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.30    $250.00      $75.00
                         Finalize statement of non-objection and proposed order for filing.

    7/30/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20    $250.00      $50.00
                         Communications and follow up with accountant regarding fee application hearing.

    7/30/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.30    $250.00      $75.00
                         Receipt and review order from court regarding employment application of auctioneer
                         and draft email to auctioneer regarding the same; follow up with staff on revising fee
                         application for auctioneer (.2).

    8/2/2021     CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20    $250.00      $50.00
                         Telephone call with Mark Brady regarding fee application and hearing.

    8/2/2021     CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20    $250.00      $50.00
                         Revise and finalize form of order regarding Dkt. No. 193.

    8/10/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.30    $250.00      $75.00
                         Revise fee application for auctioneer (.2); review and finalize revisions to application
                         and approve for transmission to client and auctioneer (.1).

    8/12/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.10    $250.00      $25.00
                         Review fee application for auctioneer.

    8/17/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20    $250.00      $50.00
                         Follow up on professional payments for Mark Brady.

    8/18/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20    $250.00      $50.00
                         Communications to client regarding accounting fee application order and related
                         payment.

    8/19/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.10    $250.00      $25.00
                         Receipt and respond to email from Mark Brady regarding payment of fee application.


    8/30/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              1.50    $250.00      $375.00
                         Prepare for hearing on fee application by unsecured creditor's committee, including
                         analyzing pleading (.3); Attend court hearing on fee application (1.2).

    9/15/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.10    $250.00      $25.00
                         Review and finalize proposed form of order for auctioneer compensation.

    9/20/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              0.20    $250.00      $50.00
                         Review order from court and draft email to auctioneer regarding compensation order.


    9/24/2021    AS      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              1.30    $95.00       $123.50
                         Draft and format Exhibit B to fee app.

    9/27/2021    AS      14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                              2.50    $95.00       $237.50
                         Draft other exhibits and final fee application.

                                                                                                           Total:   28.10               $5,829.00
OTHER CONTESTED MATTERS
   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK
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  2/8/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.70   $250.00      $175.00
                   Investigate agreements with Apex counsel regarding holding off on further action
                   pending sale, including reviewing prior hearings and telephone call to Aaron Tolson's
                   office.

  2/9/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.20   $300.00      $60.00
                   Conference with MTC regarding need for objection to Young and Young's proof of
                   claim;

 2/17/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.30   $250.00      $75.00
                   Research discovery request issues, and draft email to client regarding the same.

 2/19/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             1.10   $250.00      $275.00
                   Telephone call with Tony DeWit about garnishment and discovery issues (.3);
                   telephone call with Kim Williams regarding garnishment and agreement in bankruptcy
                   adversary (.2); work on discovery request issues (.3); conference with Matt
                   Christensen and draft email to Aaron Tolson regarding garnishment (.3).


 2/22/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.50   $250.00      $125.00
                   Telephone call to Aaron Tolson to follow up on garnishment issues (.1); telephone
                   calls and emails to client regarding documentation regarding garnishments (.3);
                   telephone call with Kim Williams regarding the same (.1).

 2/23/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.30   $250.00      $75.00
                   Follow up on discovery requests (.1); investigate possible stay violation and telephone
                   call Tony DeWit regarding confirming KeyBank information following garnishment
                   and discussion of discovery responses (.2).

 2/24/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.30   $250.00      $75.00
                   Follow up on discovery items (.2); telephone call with Amber Dina providing update
                   on deliverable responses (.1).

 2/25/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             3.20   $250.00      $800.00
                   Finalize cover letter for discovery production, including researching and locating
                   responsive documents.

 2/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.40   $250.00      $100.00
                   Revise and finalize discovery responses letter and production to Amber Dina.

 2/26/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             2.00   $150.00      $300.00
                   Finalized informal discovery responses and delivered them to counsel

 3/17/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.10   $250.00      $25.00
                   Evaluate new pleading filed by Apex.

 3/18/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.10   $250.00      $25.00
                   Draft email to Kim Williams regarding new state court orders.

 4/20/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.20   $250.00      $50.00
                   Receipt and review of new pleadings regarding APEX claim and follow up with client
                   regarding the same.

 4/23/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.10   $150.00      $15.00
                   Email communication with client regarding Report of Sale

 5/10/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.10   $250.00      $25.00
                   Review new discovery filing and follow up with staff regarding the same.

  6/7/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             1.50   $150.00      $225.00
                   Prepared initial discovery responses

 6/28/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             1.60   $150.00      $240.00
                   Prepared Notice of Sale of Property

  7/7/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.30   $150.00      $45.00
                   Finalized Report of Consignment Sale and prepared correspondence to client
                   enclosing the report for review

 7/12/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             1.00   $150.00      $150.00
                   Analyzed checks to M. Dewit; prepared spreadsheet

 7/14/2021   MA    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.60   $150.00      $90.00
                   Meeting with CRM regarding status of report of sale; email communication to client
                   regarding report
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    7/15/2021    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.30    $150.00      $45.00
                        Email communication with client; meeting regarding status of Report of Sale with
                        CRM

    7/22/2021    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.20    $150.00      $30.00
                        Reviewed email correspondence to/from client

    8/2/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.70    $250.00      $175.00
                        Prepare for fee application hearing for Mark Brady (.3); attend hearing on fee
                        application for Mr. Brady (.4).

    8/10/2021    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.70    $150.00      $105.00
                        Reviewed email correspondence; assisted in completing amended schedules

    8/17/2021    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.50    $150.00      $75.00
                        Reviewed email correspondence from client; analyzed equipment going to auction
                        with what was already on the schedules; emailed client regarding clarification
    8/24/2021    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.20    $150.00      $30.00
                        Reviewed email correspondence from client; sent email correspondence to client

    8/26/2021    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.50    $150.00      $75.00
                        Reviewed notes and correspondence from CRM; updated Notice of Sale

    8/26/2021    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.50    $150.00      $75.00
                        Reviewed email correspondence; conducted UCC search of Melinda DeWit

    9/23/2021    MA     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.20    $150.00      $30.00
                        Reviewed and organized evidence

   14260-003 DeWit Dairy v. Young & Young
    4/23/2021    LVS    14260-003 - DeWit Dairy v. Young & Young                                                  1.20    $300.00      $360.00
                        Emails to and from Tyler Rands; research applicability of lost volume seller doctrine.


    4/26/2021    LVS    14260-003 - DeWit Dairy v. Young & Young                                                  0.40    $300.00      $120.00
                        Review application of lost volume seller to leases under the UCC.

    9/1/2021     LVS    14260-003 - DeWit Dairy v. Young & Young                                                  0.10    $300.00      $30.00
                        Telephone call to Clay Nannini

                                                                                                         Total:   20.10               $4,100.00
BUSINESS OPERATIONS
    2/12/2021   MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.40    $375.00      $150.00
                        Draft and send Stip re: budget (.3); review and send confirmation of earnest money
                        deposit (.1).

                                                                                                         Total:   0.40                 $150.00
TAX ISSUES
    3/9/2021    CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.10    $250.00      $25.00
                        Draft email to Mark Brady regarding DeWit Dairy taxes.

                                                                                                         Total:   0.10                 $25.00
CLAIMS ADMINISTRATION AND OBJECTIONS
    2/9/2021    MTC     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.20    $375.00      $75.00
                        Discuss Y&Y objection with LVS.

    3/8/2021     LVS    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.30    $300.00      $90.00
                        Telephone conference with Tyler Rands;

    3/18/2021    LVS    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.10    $300.00      $30.00
                        Email Tyler Rands;

    4/23/2021    LVS    14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.80    $300.00      $240.00
                        Review obligation to mitigate damages under the Cow Lease Agreement;

    5/12/2021   CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             1.00    $250.00      $250.00
                        Analyze claim assignments filed in matter.

    5/12/2021   CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             0.20    $250.00      $50.00
                        Communications with Matt Christensen regarding claim transfers.

    5/13/2021   CRM     14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                             2.00    $250.00      $500.00
                        Work on legal memo to Matt Christensen regarding claim transfers (1.8); conference
                        with Matt Christensen regarding the same (.2).
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   6/29/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.60    $300.00      $180.00
                     Telephone conference with Kirk Melton re Y&Y claim

    7/7/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.10    $300.00      $30.00
                     Telephone conference with Kirk Melton;

   7/23/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $300.00      $60.00
                     Telephone conference with Kirk Melton;

   8/27/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.50    $300.00      $450.00
                     Conference with MTC; telephone conference Kirk Melton; email to Kirk Melton;

   8/30/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.50    $300.00      $150.00
                     Review UCC market rent provisions;

    9/1/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.10    $300.00      $30.00
                     Review and respond to email from Kirk Melton regarding Young & Young;

    9/1/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.60    $300.00      $180.00
                     Telephone conference with Kirk Melton;

   9/14/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $375.00      $375.00
                     Research and Analysis re: tax issues raised by objections to confirmation.

   9/21/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.10    $300.00      $30.00
                     Telephone call to Kirk Melton's office; email Kirk Melton;

   9/22/2021   LVS   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $300.00      $60.00
                     Telephone conference with Kirk Melton;

   9/22/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.30    $375.00      $487.50
                     Prepare and file multiple objections to claims.

                                                                                                          Total:   10.80               $3,267.50
PLAN AND DISCLOSURE STATEMENT
   2/22/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $375.00      $75.00
                     Tcw Amber Dina re: confirmation issues.

   2/22/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $375.00      $375.00
                     Work on DeWit Dairy Plan.

   2/26/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 2.00    $375.00      $750.00
                     Continue working on draft of Plan/Disc Statement.

   2/27/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 3.50    $375.00     $1,312.50
                     Continue working on Disclosure Statement and Plan.

   2/28/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $375.00      $375.00
                     Tcw client re: plan (.5); revise plan and send to client (.3); finalize and file Plan and
                     DS (.2).

    3/1/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $375.00      $75.00
                     Prepare and file NOH for disclosure statement.

    4/8/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.60    $375.00      $225.00
                     Tcw client prior to DS hearing (.2); attend DS hearing (.4).

   4/29/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.70    $250.00      $175.00
                     Draft email to Mark Brady regarding tax calculation (.2); telephone call with Mark
                     Brady regarding tax calculation issues for plan (.3); and related follow up and research
                     with staff (.2).

   4/29/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $375.00      $375.00
                     Work on revised DS.

   4/30/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.10    $250.00      $25.00
                     Follow up with Mark Brady regarding tax estimate.

   4/30/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.50    $375.00      $562.50
                     Finalize amended DS; circulate to client to review/sign; finalize and file amended DS.


    5/7/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.30    $375.00      $112.50
                     Tcw Amber Dina re: revised DS.
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   5/26/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.40    $250.00      $100.00
                     Strategy conference regarding confirmation issues and discovery requests.

   7/30/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.30    $375.00      $112.50
                     Prepare and send for signature order approving DS.

    8/4/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $375.00       $75.00
                     Emails with court and SSchwager re: disclosure statement approval.

    9/3/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.90    $250.00      $225.00
                     Conduct legal research on tax liability related issues.

    9/8/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.50    $250.00      $125.00
                     Conference with Matt Christensen regarding taxation issues raised by unsecured
                     creditors and related conference with Nation Fowler regarding tax implications for
                     purposes of bankruptcy plan.

    9/9/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $250.00       $50.00
                     Receipt and respond to email from client.

    9/9/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $250.00       $50.00
                     Receipt of multiple communications from client regarding plan, and drafting response
                     to an email from client regarding balloting.

   9/10/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $250.00       $50.00
                     Review objection filed by Trustee to plan confirmation.

   9/14/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.20    $250.00       $50.00
                     Receipt and respond to email from client regarding plan objections questions.

   9/15/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.50    $375.00      $187.50
                     Review and analyze objections to confirmation and potential responses.

   9/15/2021   CRM   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.40    $250.00      $100.00
                     Strategy conference with Matt Christensen regarding plan objections and related tax
                     issues.

   9/16/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.30    $375.00      $487.50
                     Prepare ballot summary.

   9/16/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 2.30    $375.00      $862.50
                     Research tax issues (1); telephone call with Mark Brady re: estimated taxes (.8);
                     telephone call with clients re: taxes (.5).

   9/16/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.90    $375.00      $337.50
                     Prepare pre-confirmation report.

   9/16/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 0.40    $375.00      $150.00
                     Finalize and file ballot summary and preconfirmation report.

   9/21/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.50    $375.00      $562.50
                     Review claims and other issues (.5) and telephone call with client re: outstanding
                     claims and other confirmation issues (1).

   9/23/2021   MTC   14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $375.00      $375.00
                     Travel to/from and attend confirmation hearing.

                                                                                                         Total:   23.50                $8,337.50
                                                                                                  TOTAL:          166.40               $45,064.50


COSTS
   8/13/2021         14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $114.00      $114.00
                     Postage

    2/3/2021         14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $188.00      $188.00
                     Filing fees

   8/26/2021         14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00     $4.00        $4.00
                     Filing fees - SOS

   2/12/2021         14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $30.09        $30.09
                     Postage Charge

   3/12/2021         14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK                                 1.00    $125.44      $125.44
                     Mileage Reimbursment
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 9/23/2021         14260-002 - Case No. 20-40734-JMM In re: DeWit Dairy Ch 11 BK               1.00    $29.32        $29.32
                   Postage Charge

                                                                                     Total:    6.00                 $490.85
                                                                             GRAND TOTAL:     172.40               $45,555.35



             MTC                              Matthew T. Christensen                          58.20    $375.00     $21,825.00
             MTC                              Matthew T. Christensen                           3.80    $187.50       $712.50
             LVS                                 Louis V. Spiker                               7.00    $300.00      $2,100.00
             CRM                                 Chad R. Moody                                61.80    $250.00     $15,450.00
             MA                                 Melanie Anderson                              29.00    $150.00      $4,350.00
             MR                                 Megan Richmond                                 0.40    $95.00        $38.00
              AS                                Abigail Stephens                               6.20    $95.00        $589.00
                                                                                              166.40               $45,064.50
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                        EXHIBIT C
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                                   NARRATIVE SHEET

                  Information Requested                         Information Given
  I.      BACKGROUND:
          The background information of the
          bankruptcy case, to the best of
          Applicant’s knowledge is as follows:
  A.      Date the bankruptcy petition was filed.    September 18, 2021.
  B.      Date of the “Order Authorizing             October 20, 2020.
          Employment of Counsel”.
  C.      Date services commenced.                   September 18, 2021.
  D.      Rate Application charges its non-          Same as bankruptcy clients: $215.00-
          bankruptcy clients for similar services.   $375.00 per hour for attorneys; $95.00-
                                                     $175.00 per hour for paralegals.
  E.      Application is final or interim.           Final (based on confirmation of plan).
  F.      Time period of the services or             February 1, 2021 through September 30,
          expenses covered by the Application.       2021.

  II.     CASE STATUS:
          To the best of Applicant’s knowledge,
          the final condition and status of the
          case is as follows:
  A.      The amount of cash on hand or on    The sum of $0.00 is presently being held
          deposit in the estate.              in a trust account with Angstman Johnson.
  B.      Amount and nature of accrued,       To the best of Applicant’s knowledge, the
          unpaid, administrative expenses.    only other unpaid administrative expenses
                                              are those of the estate’s other
                                              professionals. To date, the estate has
                                              retained an accountant to assist with
                                              monthly reports and tax returns, whose
                                              fees have previously been sought and
                                              allowed in the amount of $10,440.00.
                                              Additionally, there are unpaid fees and
                                              expenses to counsel for the unsecured
                                              creditor’s committee in the amount of
                                              $67,100.80.
  C.      The amount of unencumbered funds in The Applicant currently holds
          the estate.                         approximately $0.00 in a client Trust
                                              account, which will be insufficient to pay
                                              the fees and expenses requested. The
                                              Debtor, however, currently holds in
                                              excess of $4,200,000.00 in unencumbered
                                              funds with which to pay all administrative
                                              expenses.
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  III.    PROJECT SUMMARY:
          Description of each professional
          project or task for which
          compensation and reimbursement is
          sought.
  A.      Description of projects.            See Exhibit B attached hereto for a
                                              detailed description of what has been
                                              performed on behalf of the estate by the
                                              Applicant and the fees and costs incurred
                                              in these projects. The project categories
                                              included: Case Administration, Asset
                                              Disposition, Fee/Employment
                                              Applications, Other Contested Matters,
                                              Business Operations, Tax Issues, Claims
                                              Administration and Objections, and Plan
                                              and Disclosure Statement.
  B.      Necessity of projects.
                                              Case Administration was necessary in
                                              order to discuss various items with the
                                              client and other parties, as well as prepare
                                              and file required reports (MORs, IRRs)
                                              and respond to various motions.

                                              Asset Disposition was necessary in order
                                              to maintain and collect documents
                                              regarding the sale of the Debtor’s assets
                                              and property, and to prepare and file sale
                                              motions.

                                              Fee/Employment Applications was
                                              necessary in order to draft and prepare
                                              applications to employ an accounting
                                              professional and auctioneer. This also
                                              included drafting and preparing fee
                                              applications for the same.

                                              Other Contested Matters was necessary
                                              in order to deal with potential claim
                                              objections, state court proceedings, and
                                              other matters that arose as the case
                                              progressed.

                                              Business Operations was necessary in
                                              order to draft and prepare a Stipulation
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                                                   regarding a budget, and to review and
                                                   confirm an earnest money deposit.

                                                   Tax Issues was necessary in order to
                                                   communicate with the accountant
                                                   professional regarding the Debtor’s taxes.

                                                   Claims Administration and Objections
                                                   was necessary in order to evaluate claims
                                                   and prepare and file claim objections.
                                                   Time also included negotiating with
                                                   creditors over the amounts of their claims.

                                                   Plan and Disclosure Statement was
                                                   necessary in order to prepare and present
                                                   the Debtor’s proposed Plan and
                                                   Disclosure Statement. Both the Disclosure
                                                   Statement and Plan were ultimately
                                                   approved and confirmed.

  C.      Benefit of the projects to the estate.   The projects have allowed the Debtor to
                                                   continue to operate while attending
                                                   required meetings, prepare and file
                                                   required reports, seek approval for the sale
                                                   of the Debtor’s property and assets,
                                                   prepare and file the Plan and Disclosure
                                                   Statement, and otherwise seek to progress
                                                   their case towards confirmation. Each of
                                                   these projects was completed and the
                                                   Debtor’s plan was confirmed.
  D.      Status of project.                       Final (based on confirmation of Plan).
                                                   (Subject to unforeseen issues effectuating
                                                   the Plan.)
  E.      Identification of each person            See the attached Exhibit A.
          providing services on the projects
  F.      Number of hours spent, and the           See the attached Exhibit A.
          amount of compensation requested for
          each professional and
          paraprofessional.
  G.      Itemized time and services entries.      See the attached Exhibit B.
